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                                   IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF ARKANSAS
                                           HOT SPRINGS DIVISION

WENDELL BROCK BENNINGS                                                                              PLAINTIFF

v.                                           Case No. 6:23-cv-6084

CHIEF STEVEN ELROD, et al.                                                                      DEFENDANTS

                                                    ORDER

        Before the Court is a Report and Recommendation issued by the Honorable Christy D. Comstock,

United States Magistrate Judge for the Western District of Arkansas. ECF No. 17. After evaluating the 42

U.S.C. § 1983 claims in Plaintiff’s pro se complaint for preservice screening pursuant to 28 U.S.C. § 1915A,

Judge Comstock recommends that Plaintiff’s Second Amended Complaint (ECF No. 14) be dismissed for

failing to state a claim against any Defendant.      Judge Comstock further recommends that the Clerk be

directed to place a 28 U.S.C. § 1915(g) strike flag on the case for future judicial consideration and that the

Court certify pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this dismissal would not be taken in

good faith.

        Plaintiff has not filed an objection to the Report and Recommendation, and the time to do so has

passed. See 28 U.S.C. § 636(b)(1). Upon review, finding that there is no clear error on the face of the

record and that Judge Comstock’s reasoning is sound, the Court adopts the Report and Recommendation

(ECF No. 17) in toto. Plaintiff’s Second Amended Complaint (ECF No. 14) is hereby DISMISSED

WITHOUT PREJUDICE. 1 The Clerk is hereby directed to place a 28 U.S.C. § 1915(g) strike flag on
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the case for future judicial consideration. Pursuant to 28 U.S.C. § 1915(a)(3), the Court certifies that any

appeal from this dismissal will not be taken in good faith.

        IT IS SO ORDERED, this 18th day of December, 2023.

                                                                      /s/ Susan O. Hickey
                                                                      Susan O. Hickey
                                                                      Chief United States District Judge


1
 While Plaintiff has filed a motion to amend his complaint (ECF No. 18), the Court finds that Plaintiff’s proposed
amendment would not address the shortcomings identified by Judge Comstock.
